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Shelby County Government

LEE HARRIS
MAYOR

August 4, 2022

Mr. Bobby Wedqworth
12414 Darton Drive
Arlington, Tennessee 38002

RE: On the Job Inquiry (OJ!) Claim - August 5, 2019
Claim Number: 0474-WC-XX-XXXXXXX

Dear Mr. Wedgworth:

This letter is in response to a phone message left for my office and a subsequent inquiry from
the Shelby County Sheriff's Office regarding an injury you sustained on August 5, 2019. | have
thoroughly reviewed all facts presented and offer my conclusion below.

Shelby County records indicate that you sustained an injury on August 5, 2019. You received
treatment for the injury and was returned to full duty on October 23, 2019. Your claim was
officially closed on October 24, 2019. You later contacted Shelby County Government's Risk
Management Office stating that you were suffering from PTSD related to the 2019 injury.
Records show that no medical summary in support of your subsequent claim was submitted,
which resulted in the closure of the claim on June 3, 2022. You then appealed to Deputy
Administrator Greene for reconsideration. Based on medical documentation received, it was
determined that the PTSD diagnosis is related to a pre-existing condition and not to the 2019
OJ! incident.

Shelby County's On-the-Job Injury (OUI) policy provides for treatment of an injury, illness or
disease that arises out of and in the course of performing assigned duties. Your PTSD

diagnosis did not arise out of and in the performance of duties but is pre-existing based on
medical records. Based on the information your appeal is denied. There will be no payments
under the County’s OJ| program for this claim. Any related expenses should be submitted to
your personal health insurance company.

La Sonya Harris Hall, PhD
Deputy Chief Administrative Officer

C: Brenda Greene, Deputy Administrator, Human Resources

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